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       EXCLUSIVE


     NATIONAL SECURITY

     Inside the DHS task force scouring foreign students' social
     media
     A critic called the review a return to “McCarthyism,” a reference to tactics used to identify alleged
     communists during the Cold War.




              The Department of Homeland Security headquarters in 2018.
        Andrew Harrer / Bloomberg via Getty Images file




     April 9, 2025, 7:53 PM EDT

     By Julia Ainsley

     A recently created Department of Homeland Security task force is using data analytic tools to
     scour the social media histories of the estimated 1.5 million foreign students studying in the

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     United States for potential grounds to revoke their visas, three sources familiar with the
     operation told NBC News. They said records are also being searched for charges or criminal
     convictions of the student visa holders.


     DHS officials also announced Wednesday that the department would begin considering what it
     deems to be antisemitic activity on social media and “physical harassment of Jewish individuals”
     as grounds to revoke or deny immigration benefits.


     “This will immediately affect aliens applying for lawful permanent resident status, foreign
     students and aliens affiliated with educational institutions linked to antisemitic activity,” the
     announcement said.


     The Council on American-Islamic Relations, a Muslim civil rights and advocacy organization, said
     the new policy was a return to “McCarthyism,” referring to the tactics used to identify alleged
     communists in the Cold War that violated privacy rights.


     “The spirit of Joseph McCarthy is alive and well in the Trump administration, which has spent
     months dishonestly mischaracterizing legitimate criticism of the Israeli government’s war crimes
     in Gaza as antisemitic, pursuing witch hunts into American colleges, and threatening the free
     speech rights of immigrants,” CAIR National Deputy Director Edward Ahmed Mitchell said in a
     statement Wednesday.


     The data analytic tools now being used to scour social media were enhanced during the Biden
     administration, a former Biden administration DHS official said. But to use them to search social
     media of nonviolent students, the official said, is different from what the previous administration
     intended.


     “We were not targeting political activity or speech. We would only review them if they were
     inciting violence,” the former Biden administration official said.


     The tools the DHS task force is using are run by Customs and Border Protection’s National
     Targeting Center and National Vetting Center, both of which are typically tasked with using
     software and data to keep potential security threats from entering the United States. Any
     potential red flags about a student are shared with Citizenship and Immigration Services, which
     in turn asks the State Department to make a determination about whether the student’s visa
     should be revoked.


     If the State Department decides it should be revoked, the task force informs Immigration and
     Customs Enforcement agents in local field offices to arrest and deport the student, the sources
     said.

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     Before the task force was created, much of the investigative work would have been done at the
     field office level and shared with local ICE officers, the sources said. Now, according to the
     sources, agents are taking orders from people they may not know from the task force in
     Washington about whom to arrest without clear guidance about why they are being targeted.


     Over the last month, nearly 300 international students have been stripped of their visas,
     according to media reports and universities that have reviewed their systems.


     ICE, which is part of DHS, runs the Student and Exchange Visitor Program, which oversees
     foreign students on visas to study at U.S. academic institutions.


     ICE's critic
     ICE Chief of Staff Jon Feere had been a vocal critic of the Student and Exchange Visitor Program
     before he joined the Trump administration this year.


     Feere wrote dozens of articles for the Center for Immigration Studies, an organization that
     advocates for reduced immigration into the United States, many of which pointed to cases of
     fraud he alleged was rampant in the Student and Exchange Visitor Program.


     “Blatant, widespread fraud has become a central part of America’s foreign student program, and
     the government agencies responsible for putting an end to it have been asleep at the wheel for
     far too long,” Feere said in an article he published with the Center for Immigration Studies in
     August.


     DHS spokesperson Tricia McLaughlin said in a statement: “There is no room in the United States
     for the rest of the world’s terrorist sympathizers, and we are under no obligation to admit them
     or let them stay here. Secretary [Kristi] Noem has made it clear that anyone who thinks they can
     come to America and hide behind the First Amendment to advocate for anti-Semitic violence and
     terrorism — think again. You are not welcome here.”




                    Julia Ainsley


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     News Investigative Unit.




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